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                              5
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                                  Exhibit 5 Pg. 1


From: efile@osc.gov
To: anthony.w.perry@census.gov
Date: 05/24/2011 02:32 PM
Subject: OSC E-Filing System: Form Submitted




Dear Anthony Perry,

This is to notify you that your electronic complaint has been received by
OSC's E-Filing System. It does not verify that the information in your
complaint has been read. Please print out a copy of this message for your
records.

This also serves to notify you of your file number, which is MA-11-2619. If
you wish to send additional information or documents concerning this
complaint, please identify this file number on each of your submissions.

A Complaints Examiner will be assigned to your complaint shortly, and he or
she may contact you in the near future. Should you have any questions or
concerns regarding your complaint in the meantime, you may call Docket
clerk Maurice Thomas at (202) 254-3709 or (800) 872-9855. Please have your
file number available when you call so that we may more easily assist you.

If you are a Transportation Security Administration Security Screener or
Supervisor, please note that under a Memorandum of Understanding (MOU)
executed between OSC and the Transportation Security Administration (TSA)
on May 28, 2002, and TSA Directive HRM Letter No. 1800-01, TSA security
screeners and supervisors may only file allegations of reprisal for
whistleblowing with OSC. The MOU provides the authority under which OSC
may investigate whistleblower retaliation complaints and recommend that TSA
take corrective and/or disciplinary action when warranted. For additional
information on whistleblower protection provided by OSC to TSA security
screeners, visit our web page at:
http://www.osc.gov/documents/tsascreeners.htm.

For those individuals who have alleged a violation of the Uniformed
Services Employment and Reemployment Rights Act (USERRA), please note that
USERRA prohibits discrimination against persons because of their service in
      Case 1:17-cv-01932-TSC Document 30-8 Filed 11/19/18 Page 3 of 8
                                 Exhibit 5 Pg. 2


the Armed Forces Reserve, the National Guard, or other uniformed services.
USERRA prohibits an employer from denying any benefit of employment on the
basis of an individual's membership, application for membership,
performance of service, application for service, or obligation for service
in the uniformed services. USERRA also protects the right of veterans,
reservists, National Guard members, and certain other members of the
uniformed services to reclaim their civilian employment after being absent
due to military service or training.

If you believe your USERRA rights may have been violated, and you wish to
file a USERRA complaint, you must do so with the U.S. Department of Labor,
Veterans Employment & Training Service (VETS). For the address and
telephone number of the VETS office nearest you please visit
http://www.dol.gov/vets/aboutvets/contacts/main.htm or call 1-866-487-2365.
If VETS is unsuccessful in resolving the complaint, you may request that
VETS refer the complaint to OSC. If the Special Counsel believes there is
merit to the complaint, OSC will initiate an action before the U.S. Merit
Systems Protection Board and appear on your behalf. The successful
claimant is entitled to receive the employment benefits that he/she was
denied as the result of the agency's violation of USERRA.

Further information about USERRA and VETS can be found at:

http://www.dol.gov/vets.

If you have question about USERRA or VETS, please contact OSC's USERRA
coordinator at (202) 254-3600 or userra@osc.gov.

Finally, if you have not already done so, please refer to our website,
http://www.osc.gov, concerning how your complaint will be processed.

OSC E-Filing System
                      Case 1:17-cv-01932-TSC Document 30-8 Filed 11/19/18 Page 4 of 8
 From: tonywpy <tonywpy@aol.com>                      Exhibit 5 Pg. 3
     To: adove <adove@osc.gov>
     Cc: tonywpy <tonywpy@aol.com>
Subject: OSC File No. MA-11-2619
   Date: Thu, Sep 8, 2011 9:21 am
-· --- --------
Ms. Dove,

Thank you for conversing with me this morning.

Please note that I do not want to pursue this matter any further.

Thank you,

Anthony W. Perry
Sent from my Verizon Wireless Black.Berry




https:1/mail.aol.comlwebmail-std/en-us/PrintMessage
::JI 1::, LU 10
                                      Case 1:17-cv-01932-TSC Document 30-8 Filed 11/19/18 Page 5 of 8
          From: Johnny Zuagar <jzuagar@gmail.com>                         Exhibit 5 Pg. 4
                  To: tonywpy <tonywpy@aol.corn>
      Subject: Re Fw: OSC File No. MA.-11-2619
            Date: Mon. Jun 24, 2013 3:49 pm


     Here is my email

     On Thu. Sep 8, 2011 at 3 :3 7 P:\1. <TOrlJ\Vn\}l.dOL:-.);11> VTOte:

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           Sent: Sep 8.2011 9:21 AM

            \1s. Dove.

            Thank you for conversing with rnc this mormng.

            Please note that I do not v-:anr to pursue this matter any turther.

             Thank you.

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9!19/2018                 Case 1:17-cv-01932-TSC Document 30-8 Filed 11/19/18 Page 6 of 8
                                                          Exhibit 5 Pg. 5
      From: efile <efile@osc.gov>
            To: tonywpy <tonywpy@aoicom>
   Subject: OSC E-Filing System Form Submitted
       Date: Tue, Mar 26, 2013 1 :53 pm



   Dear Anthony Perry,

   This is to notify you that your electronic complaint has been receiYed by OSC's E-Filing System.
   It does not verify that the information in your complaint has been read. Please print out a copy of
   this message for your records.

    This also serves to notify you of your file number, which is MA-13-2356. If you wish to send
    additional information or documents concerning this complaint, please identify this file number
    on each of your submissions.

    A Complaints Examiner wiil be assigned to your complaint shortly, and he or she may contact
    you in the near future. Should you have any questions or concerns regarding your complaint in
    the meantime, you may call Docker clerk rv1aurice Thomas at (202) 254-3 709 or (800) 872-9855.
    Please have your file number avaiiable when you call so that we may more easily assist you.

    If you are a Transportation Security Administration Security Screener or Superv isor, please note
    that under a Memorandum of Understanding (MOU) executed betv..- een OSC and the
    Transportation Security Administration (TSA) on May 28, 2002, and TSA Directive HRM Letter
    _ o. 1800-01, TSA security screeners and supervisors may only fiie allegations of reprisal for
    whistleblowing with OSC. The MOU provides the authority under which OSC may investigate
    whistleblower retaliation complaints and recommend that TSA take corrective and/or disciplinary
     action when warranted. For additional infon11ation on whistleblO\,ver protection provided by OSC
    to TSA security screeners. visit our web page at:
     b.trp:i ,\N\VW. osc.gov !documents'tsascreeners. htrn.

     For those individuals who have alleged a violation of the Uniformed Services Employment and
     Reemployment Rights Act\ USERRA), please note that USERRA prohibits discrimination
     against persons because of their service in the Armed Forces Reserve, the National Guard, or
     other uniformed services. CS.ERR.A... prohibits an employer from denying any benefit of
     employment on the basis of an individual ·s membership, application for membership.
     performance of service, application for service. or ob1igation for service in the uniformed
     ser\'ices. USERRA also protects the right of veterans, reservists, National Guard members, and
     certain other members of the uniformed sen·ices to reclaim their civilian emolovment
                                                                                    ' -       after bein2:�
                               v
     absent due to military ser ice or training.

      If you believe your SERR,.\. rights may ha\'e been violated. and you wish to file a USERRA
      complaint, you must do so \,\'ith the U.S. Department of Labor. Veterans Employment & Training
      Service (VETS). For the address and telephone number of the VETS office nearest you please
      visit httJ}'/\X/W\V.dol.goY \ crs abOLH'- ets conrncb main.htm or call l-866-487-2365.


     h:tps !/mail.aol.comiwebmail-std/en-us/PnntMessage
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                                        Exhibit 5 Pg. 6

Anthony W. Perry                                                     Case File OSC MA-14-1449

Information to assist in the decision to investigate and the investigation of repeated prohibited
personnel practices starting in 2001 that v-'as implemented to systematically destroy my career
ai,d prevent me from promotion to GS-15 while providing promotional preference and
opponunity to Patricia ;v'lusselman especiaily. Mark Markovic, Dale Reed and other less
qualified employees.


In 1996, I was promoted to SuperYisory GS-1-+ Computer Scientist. In A.ugust 2001. my
Supervisory classification was changed without ir:) knowledge. This SF-50 \\ as ne\·er proYided
 to me. l was still allovved lO participate in the supen·isory:rnanagement actiYities by the Division
 Chief but the change \.vas made \\ithout my knowledge or any justification pro\ided. See
 included SF-50. Repeated application for promotion to GS-15 were denied.


 In 2006, I applied for the Deputy CIO position at Depanment of Commerce HQ and my
 application was deemed qualified, though not seiected. In December of 2006 and under the
 disguise of reorganization. I \Vas reassigned from reporting to GS-15 Di \·ision Chief Thomas
 Meerholz to GS-14 Patricia Musselman and then GS-14 Dale Reed. my supervisor of record at
 the time Darren Gutschow proposed my remo\ ai from the federal ser\ ice          I had reported to a
 GS-15 Division Chief since promotion to GS- i--l- in l 996.


 On September 2. 2009. he learned that Patricia \fosselman. Chief. L TSO. non-competitively
 placed another employee in the position of .--\ssisrnnt Di\·ision Chief for Customer Sen ice.
  depriving him of an opponunit) to compete for the pGsition.


  I was denied the opportunity to compete and be selected for the position of GS-15 Assistant
  Division Chief (ADC), Technology Support Office. (ADC. L TSO). This position was not
  announced formally under the Agency· s Merit Promotion process: instead. \-1s. Musselman
  reached outside the organization and non-competifr,ely selected a younger white male (Mark
  Markovic); thus denying me the opportunity to compete and/or be selected for the position. I
  believe the Information Technology Directorate uses this method of filling positions to avoid
   having to select Black or other minority employees for leadership positions. For example. the
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                                         Exhibit 5 Pg. 7

position now held by Ms. \fosselman was nm fiiled via the Merit Promotion Process: she was
non-competitively reassigned to the position of Chief. Technology Support Office. and she in
tum, went outside the organization to non-competiti\ely fili the ADC L TSO position.


It should be noted that the L TSO ADC position in question was ar1nounced competitively in
2007. that I applied for the position at that time. and was determined to be one of the three top
contenders; hov,;e\er, Ms. !Vlusselman v-·as selected. Then in 2008. when the position of Chief,
Technology Support Office became vacant. she was non-competitively piaced in that position
thus creating another vacanc\ v-:hich I\ls. Musselman filled in earlv 2009 without using: the merit
            -                 ...                                    .I                   -



 promotion process. At the time of this selection. l was in the Department of Commerce
 Executive Leadership De\eiopment Program and continued to go imo the office occasionally to
 take care of administrati,e business. On Wednesday. September 2. 2009. during a meeting with
 Ms. Musselman. I asked her if the position which she had ,acated when she v\as reassigned to
 her nev, position was going to be posted: she responded that it was not and that she had already
 reassigned Mark �farko\ ic to that position. When i asked her why the position had not been
 posted she responded that she did not \\·ish to discuss the matter further. I think there is
 something \,\,Tong with rhc: system being used to fill positions in the Information Technology
 Directorate which e:-,,;:cludes Blacks and other minorities \\ho are qualified to compete for
 promotions. Spcifically. I belie\e I am more than qualified to successfully perfom1 the duties of
 the instant position: both from an academic and es;perienec: perspectiw: having worked in this
 field for 27 years. Academically, I earned a Bachelor of Science in Chemistry: Bachelor of ..\rts
  in Information Systems Science and a Masters in Business Administration from the University of
  Austin; as well as an Executi\e !\11aster of Informat;on Technology and a Chief Infom1ation
  Officer Certificate from the l'.niversity of Maryland. University College. l believe that Ms.
  Musselman reached out and selected someone from another organization to keep me from
  getting the job.
